Exhibit “1”

 

lN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRIC'I` OF TEXAS

 

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In re: §
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REI) FoRK (USA) INVESTMENTS, I_NC. § CASE NO- 18-70116
§

EAsToK PIPELINE, LLC, § CASE No. 18-70117

. . . § CHAPTER 11

Jolntly Admuustered Debtors. § (Joint]y Administered Under
§
§ CASE No. 18-70116)
§

 

INTERIM ORDER (I) AUTHORIZING THE USE OF CASH COLLATERAL
PURSUANT TO 11 U.S.C. § 363, (II) GRANTING ADEQUATE PROTECTION
PURSUANT TO 11 U.S.C. §§ 361, 362, 363 ANI) 507,

(III) MODIFYING THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362,
(IV) SCHEDULING A FINAL HEARING PURSUANT TO
BANKRUP'I`CY RULE 4001(1)), AND (V) GRANTING RELATED RELIEF

 

On August 7, 2018, Red Fork (USA) Investments, Inc. and EastOK Pipeline, LLC, as
debtors and debtors in possession (collectively, the “Debtors”) in the above-captioned chapter 11

(the “Motion”) seeking inter

 

cases (the “Cases”), filed an emergency motion [Dooket No.

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alia, entry of this interim order (this “Interim Order”) and a final order (a “Final Order” and,
together With this interim Order, collectively, the “Cash Collateral Orders”) pursuant to sections
105, 361, 362, 363, and 507 of title ll of the United States Code, ll U.S.C. §§ 101 er seq. (as
amended, the “Bankruptcy Code”), Rules 2002, 4001, and 9014 of the Federal Rules of
Bankiuptcy Procednre (as amended, the “Bankruptcy Rules”), and the Local Ruies for the
Western District of Texas (the “Local Rules”):

i. authorizing the Debtors to use Cash Collateral (as hereinafter defined),
subject to and in accordance vvith the terms and conditions set forth herein;

ii. providing adequate protection to the Prepetition Agent and Prepetition
Lenders (as such terms are hereinafter defined) for any diminution in value of their interests in
the Prepetition Collateral (as hereinafter defined), including the Cash Collateral;

iii. vacating and modifying the automatic stay imposed under section 362 of
the Bankruptcy Code to the extent necessary to implement and effectuate the terms and
provisions Ofthis Interim Order;

iv. scheduling a final hearing (the “Final Hearing”) on the Motion no later
than thirty (30) days after the Petition Date (as hereinafter defined), and approving the form and

manner of notice of the Final Hearing as Set forth herein; and

v. Waiving any applicable stay of the effectiveness of this Interim Order and
providing for the immediate effectiveness of this Interim Order.

The Court, having considered the Motion and having held a hearing to consider the
interim relief requested in the Motion on August 10, 2018 (the ‘° nterim Hearing”), and having
considered the evidence presented or proffered and the statements and representations of the
parties on the record at the interim Hearing; due, proper and sufficient notice of the Interim
Hearing having been given in accordance With Bankruptcy Rules 2002 and 4001(b) and (d); and
all objections, if any, to the entry of this Interim Order having been Withdrawn, resolved or
overruled by the Court; and it appearing to the Court that granting the interim relief requested in
the Motion is necessary to avoid immediate and irreparable harm to the Debtors and their estates
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pending the Finai Hearing, is otherwise fair and reasonable and in the best interests of the
Debtors, their estates, and their creditors and equity holders, and is essential for the continued
operation of the Debtors’ businesses; and after due deliberation and consideration, and good and
sufficient cause appearing therefor;

THE C()URT HEREBY MAKES THE F()LLOWING FINDINGS OF FACT AND
CONCLUSIONS OF LAW:l

A. Pefition Date On August 7, 20i8 (the “Petition Date”), each of the Debtors filed
a voluntary petition for relief under chapter il of the Banl<ruptcy Code in the United States
Bankruptcy Court for the Westem District of Texas (this “Ll;t”), thereby commencing these
Cases.

B. Debtors in Possession. The Debtors continue to operate their business and
manage their properties as debtors in possession pursuant to sections 1107 and ll08 of the
Banltruptcy Code. To date, no trustee or examiner has been appointed in these Cases.

C. Jurisdictz'on and Venue. This Court has jurisdiction over the Cases, this

 

proceeding and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and
1334. Consideration of the Motion is a core proceeding under 28 U.S.C. § 157(b)(2). Venue of
the Cases in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

D. Stal‘ul‘ory Committee. As of the date hereof, the United States Trustee for the
Western District of Texas (the “U.S. Trustee”) has not appointed an official committee of
unsecured creditors in these Cases (a “Creditors’ Cornmittee” and, together With any other
statutory committee that may be appointed in these Cases, collectiveiy, the “Statutory

Committees” and, each, a “Statutory Committee”).

 

1 'l`his Interim Order shall constitute findings of fact and conclusions of law pursuant to Banl<ruptcy Rule 7052.

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E. M. On August [_-.], 2018, the Debtors served copies of the Motion and notice
of the Interim Hearing to all creditors and parties in interest entitied to such notice in compliance
with Bankruptcy Rules 2002, 4001, 9014, and the Local Rules, including: (i) the Office of the
U.S. Trustee for this District; (ii) those parties listed as holding the thirty (30) largest unsecured
claims against the Debtors’ estates on a consolidated basis; (iii) the Prepetition Agent and its
counsel; (iv) any other secured parties of record or parties that, to the Debtors’ knowledge, may
assert a security interest in property of the Debtors’ estates; (v) the internal Revenue Service; (vi)
the Office of the United States Attomey for the Westein District of Texas; and (vii) any party
that has requested notice in these Cases pursuant to Banl<ruptcy Rule 2002. Under the
circumstances, such notice of the interim Hearing and the emergency relief requested in the
Motion is due, proper, and sufficient notice and complies with Bankruptcy Rules 4001 and 9014
and the Local Rules, and no other or further notice of the Interim Hearing or the relief granted in
this Interim Order is necessary or required

F. Debz‘ors’ Srz`pulations. Without prejudice to the rights of parties in interest as set
forth in Paragraph 24 herein, the Debtors, on their own behalf and on behalf of their bankruptcy
estates, admit, stipulateJ acknowledge and agree that (collectiveiy, paragraphs F(i) through F(vi)
beiow are referred to herein as the “Debtors’ Stipuiations”):

(i) Prepetition Credit Facz`lily_ Pursuant to that certain Amended and
Restated Credit Agreement dated as of February i0, 2015 (as amended, restated, supplemented
or otherwise modified from time to time, together with all exhibits thereto, the c‘CLdit
Agreement”) among Red Fork (USA) lnvestments, lnc. (“Red Fork”), as borrower, the lenders
from time to time party to the Credit Agreement (the “Prepetition Lenders”), and Guggenheim
Corporate Funding, LLC, as administrative agent and collateral agent for the Prepetition Lenders
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(in such capacity, the “Prepetition Agent”), the Prepetition Lenders made certain loans and
advances to Red Fork` pursuant to and in accordance with the terms and conditions of the Credit
Agreement (collectiveiy, the “lM”). Pursuant to that certain Subsidiary Guaranty Agreement,
dated as of November 6, 2013 (as amended, restated or otherwise modified from time to time,
the “Guaranty”), executed by Red Forl<, EastOK Pipeline, LLC (“EastOK”), and Prairie Gas
Gathering, LLC (coilectively, the “Guarantors), the Guarantors unconditionally, absolutely and
irrevocably guaranteed the payment and performance of all Secured Obligations (as such term is
defined in the Credit Agreement) arising under the Credit Agreement and the other Indebtedness
Documents (as hereinafter defined).2

(ii) Prepetition Obligations As of the Petition Date, the Debtors Were
indebted to the Prepetition Agent and Prepetition Lenders under the indebtedness Documents,
without defense, counterclaim, offset, claim, or cause of action of any kind, in the aggregate
amount of not less than $l 19,502,022.22, consisting of (a) unpaid principal in the amount of not
less than 8119,500,000.00, (b) accrued but unpaid interest (including prepetition default interest)
in the amount of not less than $2,022.22, plus (c) all other fees, expenses, charges and other
amounts due under the Credit Agreement and the other Indebtedness Documents (including,
without limitation, attorneys’ fees, consultant fees, and related expenses and disbursements that
are chargeable or reimbursable under the Indebtedness Documents), and all other Obligations
owing under the Indebtedness Documents as of the Petition Date (collectively, the “Prepetition
Obligations”).

(iii) Prepetition Liens and Collateral. To secure the Prepetition Obligations,

without limitation, (a) Red Fork executed, for the benefit of the Prepetition Agent on behalf of

 

2 Prairie Gas Gathering, LLC was dissolved in April 2017 and is not a debtor in these Cases.

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the Prepetition Lenders: (1) that Mortgage, With Power of Sale, Fixture Filing, As-Extracted
Collateral Filing, Security Agreement, Financing Statement and Assignment of Production made
and entered into as of November 6, 2013, filed with the County Clerk of Kay County, Oklahoma
on November 12, 2013 ; (2) that Mortgage, With Power of Sale, Fixture Filing, As-Extracted
Collateral Filing, Security Agreement, Financing Statement and Assignment of Production made
and entered into as of November 6, 2013, filed with the County Clerl< of Noble County,
Ol<lahoma on December 23, 2013; (3) that Mortgage, With Power of Sale, Fixture Filing, As-
Extracted Collateral Filing, Security Agreernent, Financing Statement and Assignment of
Production made and entered into as of November 6, 2013, filed with the County Clerk of
Pawnee County, Oklahoma on January 21, 2014; (4) that Mortgage, With Power of Sale, Fixture
Fiiing, As-Extracted Collateral Filing, Security Agreement, Financing Statement and Assignment
of Production made and entered into as of November 6, 2013, filed with the County Clerl<; of`
Payne County, Okiahoma on November 21, 2013; (5) that Mortgage, With Power of Sale,
Fixture Filing, As-Extracted Coilateral Filing, Security Agreement, Financing Statement and
Assignrnent of Production made and entered into as of November 6, 2013, filed with the County
Cieri< of Wagoner County, Ol<lahoma on November 12, 2013; and (6) that Mortgage, With
Power of Sale, Fixture Filing, As-Extracted Collateral Filing, Security Agreement, Financing
Statement and Assignment of Production made and entered into as of November 6, 2013, filed
with the County Clerl< of Grant County, Ol<lahoma on November 14, 20l3, (b) EastOK executed,
for the benefit of the Prepetition Agent on behalf of the Prepetition Lenders: (1) that Mortgage,
With Power of Sale, Fixture Filing, Security Agreement and Financing Statement made and
entered into as of November 6, 2013, filed with the County Clerl< of Kay County, Oklahoma on
November 12, 2013; (2) that l\/Iortgage, With Power of Sale, Fixture Filing, Security Agreement
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and Financing Statement made and entered into as of November 6, 2013, filed with the County
Clerk of Noble County, Oklahoma on December 18, 2013; (3) that Mortgage, With Power of
Sale, Fixture Filing, Security Agreement and Financing Statement made and entered into as of
November 6, 20l3, filed with the County Clerk of Pawnee County, Ol<lahoma on November 13,
2013; (4) that Mortgage, With Power of Sale, Fixture Filing, Security Agreement and Financing
Statement made and entered into as of November 6, 2013, filed with the County Clerk of Payne
County, Oklahoma on November 21, 2013; and (5) that Mortgage, With Power of Sale, Fixture
Filing, Security Agreement and Financing Statement made and entered into as of November 6,
2013, filed with the County Clerl< of Wagoner County, Oklahoma on November 12, 2013 (as
each of the foregoing has been or may be amended, supplemented or restated from time to time,
coilectively, the “Mortgages”), and (c) Red Forl< and EastOK executed, for the benefit of the
Prepetition Agent on behalf of the Prepetition Lenders, that Security Agreement made and
entered into as of November 6, 2013 (as has been or may be amended, supplemented or restated

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from time to time, the Security Agreement” and, together with the Credit Agreement,
Mortgages, Guaranty, and any other agreements, notes, mortgages, security agreements, pledges,
guarantees, assignments and other documents executed in connection with the Credit Agreement
and all subsequent modifications, forbearance agreements and amendments thereto, collectively,
the “Indebtedness Documents”). Pursuant to the Mortgages and Security Agreement, the
Debtors granted to Prepetition AgentJ for and on behalf of the Prepetition Lenders, liens and
security interests in and upon substantially all of the Debtors’ existing and after-acquired assets,
as more particularly set forth in the Mortgages and Security Agreernent (the foregoing together
with any and all other property of the Debtors pledged to secure the Prepetition Obligations,
collectively, the “Prepetition Collatera ”). The liens and security interests granted in the
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Mortgages and Security Agreement, together with any other security interests, liens, mortgages,
pledges, assignments and other interests in the Prepetition Collateral granted by the Debtors in
favor of the Prepetition Agent under any other documents or agreements are referred to
collectively herein as the “Prepetition Liens”.

(iv) Valz`dity of Prepetition Obligations and Indebredness Documents. The
Prepetition Obligations constitute legal, valid, binding, and non-avoidable obligations of the
Debtors. No offsets, challenges, objectionsJ defenses, claims or counterclaims of any kind or
nature to any of the Prepetition Obligations exist. No portion of the Prepetition Obligations or
any payments made to the Prepetition Agent or applied to the Obligations owing under the
Indebtedness Documents prior to the Petition Date is subject to any challenge or defense
including, without limitation, set-off, avoidance, impairment, disallowance, disgorgement,
recharacterization, reduction, subordination (whether equitable or otherwise), counterclaim,
recoupment, or cross-claim, under or pursuant to the Bankruptcy Code or any other applicable
non-bankruptcy law, by any person or entity. The lndebtedness Docurnents are valid and
enforceable by the Prepetition Agent and Prepetition Lenders in accordance with their terms. As
of the Petition Date, the Debtors and their estates have no claims, objections, challenges, causes
of actions, and/or choses in action, including without limitation, avoidance claims under chapter
5 of the Bani<ruptcy Code, against the Prepetition Agent or any Prepetition Lender or any of their
respective affiliates, agents, attorneys, advisors, professionals, officers, directors and employees,
arising out of, based upon or related in any way to the Loans, any of the lndebtedness
Documents (or the transactions contemplated thereunder), the Prepetition Obligations, or the
Prepetition Liens.

(V) Valz`dily, Per'fection and Priorily of Prepetition Liens. The Prepetition
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Liens are (a) valid, binding, enforceable, non-avoidable and properly perfected liens on and
security interests in the Prepetition Collateral, including Cash Collateral; (b) not subject to,
pursuant to the Bankruptcy Code or any other applicable non-bankruptcy law, avoidance,
disallowance, reduction, recharacterization, recovery, subordination (whether equitable or
otherwise), impairment, or challenge of any kind by any person or entity; and (c) senior in
priority over any and all other liens on the Prepetition Collateral, but subject and subordinate
only to (1) the Adequate Protection LienS, and (2) any liens existing on the Prepetition Collateral
as of the Petition Date, that are (x) expressly permitted to be senior to the Prepetition Liens under
the lndebtedness l)ocurnents, and (y) valid, properly perfected, enforceable, and non-avoidable
as of the Petition Date, and not subject to reduction, disallowance, disgorgement, counterclaim,
surcharge, or subordination pursuant to the Bankruptcy Code or applicable non-bankruptcy law
(collectively, “Perrnitted Liens”). Each Debtor, for itself and on behalf of its estate, irrevocably
waives any right to challenge or contest in any way the scope, extent, perfection, priority,
validity, non-avoidability, and enforceability of the Prepetition Liens or the validity,
enforceability, or priority of payment of the Prepetition Obligations and the lndebtedness
Documents. The Prepetition Liens were granted to the Prepetition Agent, for the benefit of the
Prepetition Lenders, for fair consideration and reasonably equivalent value, and were granted
contemporaneously with the making of the Loans, commitments, and/or other financial
accommodations under the indebtedness Documents.

(vi) Cash Collateml. The Prepetition Collateral, together with all cash
proceeds and revenues arising from the collection, lease, sale or other disposition, use or
conversion thereof, constitutes and includes the Prepetition Lenders’ “cash collateral” as that
term is defined in section 363 (a) of the Bankruptcy Code (collectively, the “Cash Collateral”).
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The Debtors represent that, subject to Permitted Liens (if any), ali of the Debtors’ cash, including
the cash in the Debtors’ deposit accounts, wherever located, whether as original collateral or
proceeds of other Prepetition Collateral, constitutes the Cash Collateral of the Prepetition Agent
and Prepetition Lenders. Subject to Permitted Liens (if any), the Debtors have no interest,
directly or indirectly, in any cash that does not constitute Cash Collateral.

G. Necessz'n) of Relief Requested. The Debtors require the immediate use of Cash
Collateral to fund the Debtors’ ordinary course business operations and administer and preserve
the value of the Debtors’ estates. Without such authorization for the continued use of Cash
Collateral, the Debtors would be unable to pay postpetition operating expenses and obtain goods
and services necessary to carry on their businesses in a manner that will avoid irreparable harm
to the Debtors, their estates and their creditors Therefore, the relief requested in the Motion is
necessary, essential, and appropriate to prevent immediate and irreparable harm to the Debtors’
estates and to allow the continued operation of the Debtors’ businesses and the management and
preservation of their property, including the Prepetition Collateral.

H. Cona’itr`onal Consenr to Use of Cash Collateral. The Debtors acknowledge and

 

agree that substantially all of their assets are subject to the Prepetition Liens. The Prepetition
Agent does not consent to the Debtors’ use of the Prepetition Collateral, including Cash
Collateral, except on the terms and conditions provided for in this interim Order. The
Prepetition Agent has stipulated and agreed to the Debtors’ use of Cash Collateral during the
term of, and conditioned on the entry of, this Interim Order, exclusively in accordance with the
terms, condition and limitations set forth in this Interim Order and the budget attached hereto as
Exhibit 1 (the “§nge_t”). The Prepetition Agent does not consent to the Debtors’ use of Cash

Collateral except in accordance with the Budget and the terms and conditions set forth in this

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Interim Order.

1. Adeqnate Protecn'on Required_ The Prepetition Agent and Prepetition Lenders

 

are entitled to receive adequate protection to the extent of any diminution in the value of their
interest in the Prepetition Collateral (including the Cash Collateral) resulting from the Debtors’
use of Cash Collateral, the use, sale or lease of any Prepetition Collateral, the subordination of
the Prepetition Liens to the Carve Out (as hereinafter defined), as described herein, and the
imposition of the automatic stay (collectively the “Diminution in Value”) pursuant to sections
361, 362 and 363 of the Bankruptcy Code. Pursuant to sections 361, 363, and 507(b), as
adequate protection against any Dirninution in Value, the Prepetition Agent, for and on behalf of
the Prepetition Lenders, shall receive: (a) the Adequate Protection Liens, (b) the Adequate
Protection Superpriority Clairns, and (c) the Adequate Protection Payments, in each case as set
forth herein.

J. Secn`ons 506(€) and 552(1)). Upon entry of the Final Order, in light of the
Prepetition Agent’s and Prepetition Lenders’ agreement to subordinate their Adequate Protection
Liens and Adequate Protection Superpriority Claims to the Carve Out and to permit the use of
their Cash Collateral for payments made in accordance with the terms of this interim Order, the
Prepetition Agent and Prepetition Lenders shall be entitled to (a) a waiver of any “equities of the
case” claims under section 552(b) of the Bankruptcy Code and (b) a waiver of the provisions of
section 506(c) of the Bankruptcy Code.

K. Good Cause/Fair and Reasonable Ternis. Good cause has been shown for the

 

entry of this Interim Order. Among other things, entry of this interim Order will minimize
disruption of the business and operations of the Debtors and permit the Debtors to maintain the

going concern value of their businesses and assets during the pendency of these Cases. 'l`he use

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of Cash Collateral authorized hereunder is necessary, essential, and appropriate and is in the best
interest of, and will benefit, the Debtors, their creditors, and the Debtors’ bankruptcy estates as it
will, among other things, provide the Debtors with the necessary liquidity to (i) continue
operation of the Debtors’ business, (ii) preserve and maximize the value of the Debtors’ business
and assets, and (iii) enhance the Debtors’ prospects for a successful reorganization The terms
and conditions of the use of Cash Collateral and the security interests, liens, rights, and priorities
granted to the Prepetition Agent and Prepetition Lenders hereunder are fair, just and appropriate
under the circumstances, and are supported by reasonably equivalent value and fair
considerationl Accordingly, good cause has been shown for the immediate entry of this interim
Order pursuant to Bankruptcy Rule 4001(b)(2).

L. Good Faith. The agreements and arrangements authorized in this Interim Order
have been negotiated at arms’ length with all parties represented by experienced counsel, and
have been entered into in good faith, and are enforceable in accordance with their tenns.

l\/l. Final Hearing. At the Final Hearing, the Debtors will seek entry of a Final Order
granting the relief requested in the Motion on a final basis. Notice of the Final Hearing will be
provided in accordance with this interim Order.

Based upon the foregoing, the Motion and the record made before the Court at the
Interim Hearing, and good and sufficient cause appearing therefor,

IT IS HEREBY ORDERED that:

l. Motion Granted. The Motion is hereby granted on an interim basis as set forth
herein. Any objections to the entry of this Interim Order that have not been previously resolved
or withdrawn are hereby overruled on their merits.

2, Authorization to Use Cash Collateral. Subject to the terms and conditions of this

 

interim Order, the Debtors are authorized to use Cash Collateral solely for the purposes set forth
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in the Budget, and only up to the respective aggregate amount of disbursements set forth in the
Budget during the period (the “lnterim Period”) beginning on the Petition Date and ending on the
Termination Date (as hereinafter defined), subject to the Permitted Variance (as hereinafter
defined). The Debtors shall not use, sell, or expend, directly or indirectly, the Prepetition
Collateral, including Cash Collateral, except pursuant to the Budget and upon the terms and
conditions set forth in this Interim Order. The Prepetition Agent’s consent to the Debtors’ use of
Cash Collateral as set forth herein shall not be deemed to be consent to any further or other use
of the Prepetition Collateral or Cash Collateral.

3. Compliance With Budget. The Debtors’ aggregate expenditures under the Budget
shall be tested on both a monthly and a cumulative basis (t.e., the sum of all actual amounts
expended for the current month and all previous months in the Budget cannot exceed the sum of
all budgeted disbursements for such monthly and cumulative period). On or prior to 4:00 p.ni.
prevailing Central time on September 4, 2018, the Debtors shall prepare and deliver to
Prepetition Agent and its counsel, with a copy to counsel for any Statutory Committee, a written
reconciliation (by line item and on a cumulative basis) of the actual collections and
disbursements for the immediately preceding month with the projected collection and
disbursements for such month set forth in the Budget (a “Budget Variance Report”). The Budget
may be amended from time to time by written agreement between the Prepetition Agent and
Debtors, with notice to any Statutory Committee, without further order of the Court; provided
that the amended budget shall be filed with the Court and, if no objections are filed to such
amended budget within three (3) business days, such amended budget shall become the Budget
under this Interim Order.

4. Restrictions on Use of Cash Collateral.

 

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(a) From and after the Petition Date, all proceeds of the Prepetition Collateral
and/or Adequate Protection Collateral (as hereinafter defined), including, without limitation, all
of the Debtors’ existing or future cash and Cash Collateral, shall not, directly or indirectly, be
used for any payments, expenses or disbursements of the Debtors except: (i) to fund the Debtors’
postpetition operating expenses in accordance with the Budget (subject to the Pennitted
Variance); (ii) to pay the Adequate Protection Payments as set forth herein; (iii) for
compensation and reimbursement of fees and expenses payable pursuant to sections 330 and 331
of the Banl<ruptcy Code and payable to attorneys, accountants, investment bankersJ financial
advisors, or other professional persons retained by the Debtors and permitted or awarded
pursuant to a final, non-appealable order of this Court, in accordance With the Budget (which
shall be payable strictly in accordance With the amounts set forth in the Budget and not subject to
the Permitted Variance); provided however, that the foregoing shall not be construed as consent
to the allowance of any of the amounts referred to in the preceding clause (iii) and shall not
affect the right of any party in interest to object to the allowance and payment of any such
amounts; (iv) certain other costs and expenses of administration of the Cases that are expressly
permitted under this Interim Order or other Order(s) entered by this Court, in each case in
accordance with the Budget; and (v) as otherwise provided in the Budget.

(b) Except as set forth herein, the Prepetition Agent has not consented or
agreed to the additional use of Prepetition Collateral or Adequate Protection Collateralh

(c) Notwithstanding anything to the contrary contained herein, no Cash
Collateral (including amounts subject to the Carve Out) may be used, directly or indirectly, by
any of the Debtors or any other person or entity to (i) object, contest, or raise any defense to the

validity, perfection, priority, extent, or enforceability of the Prepetition Obligations and/or the

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lndebtedness Documents, (ii) assert or prosecute any claims and defenses against the Prepetition
Agent, any Prepetition Lender, or any of their respective predecessors~in-interest, agents,
affiliates, representatives, attorneys, or advisors, (iii) prevent, hinder, or otherwise delay the
Prepetition Agent’s assertion, enforcement, or realization on the Prepetition Collateral, any
obligations owed in connection with a Diminution in Value, or the Adequate Protection Liens, in
accordance with this Interim Order, (iv) seek to modify any of the rights granted to the
Prepetition Agent and Prepetition Lenders hereunder, (v) apply to any court for an order
authorizing the use of the Prepetition Collateral or Cash Collateral except on terms consistent
with this Interim Order and the Budget, or (vi) apply to the Court for authority to approve
superpriority claims or grant liens in the Prepetition Collateral, the Adequate Protection
Collateral, or any portion thereof that are senior to, or on parity with the Adequate Protection
Liens, the Adequate Protection Superpriority Claims, or the Prepetition Liens, unless all
obligations under the lndebtedness Documents and this Interim Order have been indefeasibly
paid in full in cash.

5. Cash Management. The Debtors shall each open and maintain a debtor in

Possession Operating account at :." il ":`l (collectiveiy, the “DIP Accounts”) and close all

 

other deposit accounts of the Debtors. The Debtors shall immediately segregate, remit and
deposit all Cash Collateral in the Debtors’ possession, custody or control, or which the Debtors
may receive in the future, into the DlP Accounts. All Cash Collateral collected by the Debtors
shall be immediately transferred by the Debtors to the DIP Accounts. The Debtors shall be
prohibited from withdrawing or using funds from the DIP Accounts except as provided for in the
Budget, this Interim Order, or pursuant to further order of the Court. The Prepetition Agent is

holding, and shall continue to hold, $952,284.50 in proceeds of the Loans in a segregated

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account owned and controlled by the Prepetition Agent (the “Retention Account”), which Loan
proceeds shall be transferred to the DIP Accounts on a twice-monthly basis in accordance With
the provisions of Paragraph 6 of this Interim Order. The Debtors shall at all times maintain a
minimum aggregate balance of $150,000.00 in the Red Fork DIP Account as additional
assurance for payment of obligations that may become due and payable by the Debtors to Trey
Resources under and pursuant to that Services and Operating Agreement among the Debtors and
Trey Resources.

6. Transfers to Fund the Budget. Upon entry of this Interim Order, and provided no

 

Event of Default (as hereinafter defined) shall have occurred, the Debtors shall be authorized to
request from Prepetition Agent a twice-monthly transfer, With such request to be delivered on the
l()th and 25th days (or the first business day preceding such dates if such dates fail on a weekend)
of each month during the tenn of this Interim Order, of funds from the Retention Account to the
applicable DIP Account to fund the expenses set forth in the Budget that are estimated to be due
and payable in the lS-day period following such transfer request (eachj a “Funding Perio ”), in
accordance with the Budget and the terms of this lnterim Order. Such transfer requests by the
Debtors shall be limited to: (a) in the case of the first transfer request of the applicable month, an
amount not more than 100% of the aggregate expenses set forth in the Budget for such month
(plus the Permitted Variance (to the extent applicable) and any amounts that are not subject to
the Permitted Variance as provided in this Interim Order), and (b) in the case of the second
transfer request of the applicable month, not more than 100% of the aggregate expenses set forth
in the Budget for such month (plus the Perrnitted Variance (to the extent applicable) and any
amounts that are not subject to the Pennitted Variance as provided in this Interim Order) less the

full amount of the first transfer request for such month. Upon entry of this Interim Order, and

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provided no Event of Default shall have occurred and the Debtors shall have delivered a transfer
request in compliance with this Paragraph 6 to the Prepetition Agent, the Prepetition Agent shall
process such requested transfer from the Retention Account to the applicable DIP Account
Within 2 business days of the Prepetition Agent’s receipt of such transfer request On or before
the 15th and 30th days of each month during the term of this Interim Order, the Debtors shall
provide Prepetition Agent and its counsel, with a copy to counsel for any Statutory Committee, a
report of the Debtors’ actual expenditures for the immediately preceding Funding Period.

7. L:B. Unless extended by written agreement of the Prepetition Agent and
Debtors, the term of this Interim Order and the lnterim Period shall expire, and the Debtors’
authorization to use Cash Collateral shall cease, on the earliest to occur of the following (the
“Termination Date”): (a) the date that is thirty (30) days after the Petition Date, if the Debtors
have not obtained entry of a Final Order in form and substance acceptable to the Prepetition
Agent on or before such date; (b) the occurrence of an Event of Default under this Interim Order;
(c) the closing of a sale of all or substantially all assets of the Debtors; and (d) continuation of a
chapter 11 plan in these Cases.

8. Adequate Protection Liens.

 

(a) Adequafe Protection Liens. Pursuant to sections 361 and 363 of the
Bankruptcy Code, as adequate protection for and to the extent of any Diminution in Value of the
interests of the Prepetition Agent and Prepetition Lenders in the Prepetition Collateral, including
Cash Collateral, the Prepetition Agent is hereby granted, for and on behalf of the Prepetition
Lenders, additional and replacement, continuing, valid, binding, enforceable, non-avoidable,
automatically perfected postpetition security interests in and liens (the “Adeguate Protection

Liens”) on any and all tangible and intangible prepetition and postpetition property in which the

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Debtors have an interest, whether existing on or as of the Petition Date or thereafter acquired,
together with any proceeds thereof, including without limitation, any and all cash, accounts,
accounts receivable, inventory, goods, general intangibles, payment intangibles, letters of credit,
letters~of~credit rights, supporting obligations, contracts, securities, chattel paper, owned real
estate, real property leaseholds, mineral interests, fixtures, machinery, equipment, vehicles,
deposit accounts, patents, copyrights, trademarks, trade names, rights under license agreements
and other intellectual property, capital stock of the subsidiaries of the Debtors, the proceeds of all
of the foregoing and the proceeds of any claims and causes of action of the Debtors, including
(subject to the entry of the Final Order) the proceeds of claims and causes of action of the
Debtors (but not the actual claims and causes of action, if any) arising under sections 544, 545,

547, 548, 549 and 550 of the Bankruptcy Code (collectively, the “Avoidance Actions”); provided

 

Lat the Adequate Protection Liens shall not attach to any assets upon which security may not be
lawfully granted or, pending the entry of the Final Order, proceeds of Avoidance Actions (the
foregoing, collectively, the “Adequate Protection Collateral”).

(b) Prforz`ly ofAdequate Profection Liens.

i. The Adequate Protection Liens shall be subject and subordinate only to
(A) the Carve Out, and (B) Perrnitted Liens. The Adequate Protection
Liens shall otherwise be senior to all other security interests in, liens on, or
claims against any of the Adequate Protection Collateral.

ii. The Adequate Protection Liens shall be enforceable against and binding
upon the Debtors, their estates and any successors thereto, including
without limitation, any trustee or other estate representative appointed in
the Cases, or any case under chapter 7 of the Bankruptcy Code upon the
conversion of any of the Cases, or in any other proceedings superseding or
related to any of the foregoing (collectively, “Successor Cases”). Except
as provided herein (or upon the prior written consent of the Prepetition
Agent), the Adequate Protection Liens shall not be made subject to or pari
passu with any lien or security interest by any court order heretofore or
hereafter entered in the Cases or any Successor Cases, and the Adequate
Protection Liens shall be valid and enforceable against any trustee
appointed in any of the Cases or any Successor Cases, or upon the

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dismissal of any of the Cases or Successor Cases. The Adequate
Protection Liens shall not be subject to sections 506(c) (effective upon
entry of the Final Order), 510, 549, or 550 of the Bankruptcy Code. No
lien or interest avoided and preserved for the benefit of any estate pursuant
to section 551 of the Banl<ruptcy Code shall be made pari passu with or
senior to the Adequate Protection Liens.

iii. Subject to entry of the Final Order and to the extent provided for therein,
any provision of any lease or other license, contract or other agreement
that requires (i) the consent or approval of one or more landlords or other
parties or (ii) the payment of any fees or obligations to any governmental
entity, in order for any Debtor to pledge, grant, sell, assign, or otherwise
transfer any such leasehold interest, or the proceeds thereof, or other
Adequate Protection Collateral related thereto, is hereby deemed to be
inconsistent with the applicable provisions of the Banl<ruptcy Code. Any
such provision shall have no force and effect with respect to the granting
of Adequate Protection Liens on such leasehold interest or the proceeds of
any assignment and/or sale thereof by any Debtor in favor of the
Prepetition Agent in accordance with the terms of this Interim Order.

9. Adequate Protection Superprioritv Claims.

(a) Adequate Protection Superprforiiy Claim. As further adequate protection
for and to the extent of any Diminution in Value of the interests of the Prepetition Agent and
Prepetition Lenders in the Prepetition Collateral, including Cash Collateral, the Prepetition Agent
is hereby granted, for and on behalf of the Prepetition Lenders, as and to the extent provided by
sections 503(b) and 507 of the Banl<ruptcy Code, an allowed superpriority administrative
expense claim against the Debtors @ointly and severally) in each of the Debtors’ Cases and any
Successor Cases (the “Adequate Protection Superpriority Claims”).

(b) Priorz`ty of Adequare Prorection Superpriorily Claz'ms. The Adequate
Protection Superpriority Claims shall be junior only to the Carve Out. Except for the Carve Out,
the Adequate Protection Superpriority Claims shall have priority over all administrative expense
claims and unsecured claims against the Debtors or their estates, now existing or hereafter
arising, of any kind or nature whatsoever, including, without limitation, administrative expenses
of the kinds specified in or ordered pursuant to sections 105, 326, 328, 330, 331, 365, 503(a),

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503(b), 506(0), 507(a), 507(b), 546(0), 546(d), 726 (to the extent permitted by law), lll3 and
1114 of the Bankruptcy Code.

10. Adequate Protection Pavments. As additional adequate protection, the Debtors
are authorized and directed to pay the Prepetition Agent’s and Prepetition Lenders’ reasonable
and documented fees, costs and expenses incurred in connection with the Cases (including,
without limitation, the fees and expenses of Haynes and Boone, LLP as counsel for the
Prepetition Agent) (the “Adeouate Protection Pavments”). The amounts to be paid pursuant to
this Paragraph 10 shall be paid regardless of whether such amounts accrued prior to the Petition
Date (if any such amounts have accrued and are unpaid) or after the Petition Date, whether or not
such amounts are included in the Budget (and the Budget shall be adjusted accordingly), and
shall be paid Without further motion, fee application, or order of the Court; provided, however,
that the Prepetition Agent (through its counsel) shall submit invoices for such unpaid fees, costs
and expenses for review by the Debtors, the U.S. Trustee and any Statutory Committee
(collectively, the “Review Parties”). The Review Parties shall have ten (10) days to review such
invoices and raise objections (if any) with respect thereto. lf no objections to the invoices are
raised by the Review Parties within such ten (10) day review period, the Debtors shall promptly
pay such invoices in full in accordance with this Paragraph 10. In the event any of the Review
Parties objects to any portion of the_invoices within the ten (10) day review period, such
objections shall be resolved by the Court if they cannot be resolved consensually among the
parties', provided however, that pending the resolution of any objections, the Debtors shall pay
all portions of such invoices not subject to objection.

l l. Further Adeouate Protection.

(a) Nothing in this Interim Order waives any rights of the Prepetition Agent to

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request at any time that the Court provide additional or further protection of the Prepetition
Agent’s and/or Prepetition Lenders’ interests in the Prepetition Collateral (including Cash
Collateral), or to seek further or additional adequate protection in the event the adequate
protection provided herein proves to be inadequate, and the ability of the Debtors or any other
party in interest to oppose any such relief.

(b) Subject to the Carve Out, the Adequate Protection Liens shall not be (i)
subject or junior to any lien that is avoided and preserved for the benefit of the Debtors’ estates
under section 551 of the Banl<iuptcy Code, or (ii) subordinated to or made pari passu with any
other lien, whether under section 364(d) of the Bankruptcy Code or otherwise. No claim or lien
having a priority superior to or pari passu with those granted by this Interim Order with respect
to the Adequate Protection Liens and the Adequate Protection Superpriority Claims shall be
granted or allowed until the indefeasible payment in full in cash and satisfaction in the manner
provided in this interim Order of all Prepetition Obligations and any obligations under this
Interim Order.

ll Postpetition lnterest on Prepetition indebtedness Without prejudice to the rights

 

of the Prepetition Agent and Prepetition Lenders under section 506(b) of the Banl<ruptcy Code,
the Debtors will not be required to pay current interest on the outstanding balance of the
Prepetition Obligations during the Interim Period. The Prepetition Agent and Prepetition
Lenders reserve all rights under section 506(b) of the Bankruptcy Code to assert, and expressly
does not Waive or limit, claims for postpetition interest, fees and all other amounts due under the
lndebtedness Documents.

13. Modiflcation of Automatic Stay. The automatic stay under Banl<ruptcy Code

 

section 362(a) is hereby modified as necessary to effectuate all of the terms and provisions of

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this Interim Order, including, without limitation, to: (a) permit the Debtors to grant the Adequate
Protection Liens and Adequate Protection Supeipriority Claims; (b) permit the Debtors to
perform such acts as the Prepetition Agent may request to assure the perfection and priority of
the liens granted herein; (c) permit the Debtors to incur all liabilities and obligations to the
Prepetition Agent and Prepetition Lenders under this Interim Order; (d) authorize the Debtors to
pay, and the Prepetition Agent to retain and apply, any payments made in accordance with the
terms of this Interim Order; and (e) permit the Prepetition Agent, upon the occurrence of a
Termination Date, all rights and remedies provided for hereunder, and to take any or all of the
following actions without further order of or application to this Court: (i) terminate the Debtors’
use of Cash Collateral; (ii) declare any obligations owed on account of a Diminution in Value
owed to the Prepetition Agent and Prepetition Lenders to be immediately due and payable; (iii)
setoff and apply immediately any and all amounts in accounts maintained by the Debtors with
the Prepetition Agent against any obligations owed on account of a Diminution in Value owed to
the Prepetition Agent and Prepetition Lenders; and (iv) take any other actions or exercise any
other rights or remedies permitted under this Interim Order.

l4. Perfection of Adequate Protection Liens. This Interim Order shall be sufficient

 

and conclusive evidence of the validity, perfection, and priority of the Adequate Protection Liens
without the necessity of filing or recording any financing statement or other instrument or
document which may otherwise be required under the law or regulation of any jurisdiction or the
taking of any other action (including, for the avoidance of doubt, entering into any deposit
account control agreement) to validate or perfect (in accordance with applicable non~banl<ruptcy
law) the Adequate Protection Liens, or to entitle the Prepetition Agent to the priorities granted

herein. Notwithstanding the foregoing, the Prepetition Agent is authorized to file, as it deems

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necessary in its sole discretion, such financing statements, mortgages, notices of liens and other
similar documents to perfect in accordance with applicable non-bankruptcy law or to otherwise
evidence the applicable Adequate Protection Liens, and all such financing statements, mortgages,
notices and other documents shall be deemed to have been filed or recorded as of the Petition
Date; provided, however, that no such filing or recordation shall be necessary or required in
order to create or perfect the Adequate Protection Liens. The Debtors are authorized and
directed to execute and deliver, promptly upon demand, to the Prepetition Agent all such
financing statements, mortgages, notices and other documents as the Prepetition Agent may
reasonably request The Prepetition Agent, in its sole diseretion, may tile a photocopy of this
Interim Order as a financing statement with any filing or recording office or with any registry of
deeds or similar office, in addition to or in lieu of such financing statements, notices of lien or
similar instrument
15. Debtors’ Obligations The Debtors shall:

(a) use Cash Collateral in accordance with the terms of this Interim Order;

(b) deliver a Budget Variance Report, including a qualitative explanation for
any material variance, to the Prepetition Agent no later than 4:00 p.m. (Central Time) on
Tuesday of each week during the Interim Period; and

(c) promptly provide the Prepetition Agent with (i) periodic updates regarding
a sale process, including copies of any bids or letters of intent received by the Debtors in
connection therewith (provided that the foregoing may be provided subject to and limited in all
respects by any applicable confidentiality arrangements), and (ii) any other information
reasonably requested by the Prepetition Agent related to the Prepetition Collateral, Adequate

Protection Collateral, or these Cases.

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16. M. Prepetition Agent and its agents shall have access upon reasonable notice
during normal business hours to the Debtors and the Debtors’ business premises and to the
Adequate Protection Collateral and to review, appraise, and evaluate the physical condition of
the Adequate Protection Collateral and to inspect the financial records and all other records of
the Debtors relating to the operations of the Debtors. The Debtors shall fully cooperate with the
Prepetition Agent regarding such review, evaluations, and inspections, and shall make their
employees and professionals reasonably available to the Prepetition Agent and its professionals
and consultants to conduct such reviews, evaluation, and inspections.

17. Asset Disposition Program. As additional adequate protection, the Debtors shall
effectuate an asset disposition program in accordance with the terms and conditions set forth

below (the “Asset Disposition Program”):

 

(a) Safe and Sale Procea’ures Motion. Withln the earlier of five (5) business
days after the Debtors’ engagement of an investment banker (on terms and conditions acceptable
to the Prepetition Agent) iii these Cases or ten (10) days after the entry of this Interim Order, the
Debtors shall file a motion seeking this Court’s approval of: (i) sale procedures satisfactory to
the Prepetition Agent with respect to the sale of all or substantially all of the Debtors’ assets (the
“Sale Pi'oeedures”), and (ii) the sale of all or substantially all of the Debtors’ assets (including
the assumption and assignment of related executory contracts and/or unexpired leases as
applicable) on terms satisfactory to the Prepetition Agent and otherwise pursuant to the Sale
Procedures (the “§amle”).

(b) Sale Procedi¢res Order. The Debtors shall request that, the Court’s docket
permitting, the Couit schedule a hearing to consider approval of the Sale Procedures on

September 7, 2018, and, in any event, not later than twenty-four (24) days after the Debtors file

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the motion requesting approval of the Sale Procedures, the Debtors shall have obtained entry of
an order by this Court, in form and substance acceptable to the Prepetition Agent, approving the
Sale Procedures.

(c) Sale Order. Not later than ninety (90) days after the Petition Date, the
Debtors shall have obtained entry of an order by this Couit, in form and substance acceptable to
the Prepetition Agent, approving the Sale (the “Sale Order”).

(d) Sale Closing. Not later than one-hundred twenty (l20) days after the
Petition Date, the Debtors shall consummate and close the sale of all or substantially all of the
Debtors’ assets (including the assumption and assignment of related executory contracts and/or
unexpired leases as applicable) in accordance with the Sale Procedures and Sale Order.

(e) Orher' Benchmarks. Other benchmarks shall be agreed upon by the
Prepetition Agent and the Debtors in the Sale Procedures (including opening of a data room,j
completion of due diligence, receipt of formal bids, approval of qualified bidders, and an auction
date), and such benchmarks shall be part of the Asset Disposition Program as if set forth iii this
Final Order.

(f) Moci'ificcltion of Asset Disposfc‘fon Program Deadlines. The dates and
deadlines in this Asset Disposition Program may be extended from time to time by written
agreement between the Prepetition Agent, Debtors, and any Statutory Committee without further
order of the Court, provided that the amended dates and deadlines shall be filed with the Court
and, if no objections are filed to such amendments within three (3) business days, such
amendments shall become binding as part of the Asset Disposition Program under this Interim
Order.

lS. Disposition of Collateral. The Debtors shall not sell, transfer, lease, encumber or

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otherwise dispose of any portion of the Prepetition Collateral and/or Adequate Protection
Collateral outside of the ordinary course of business without the prior written consent of the
Prepetition Agent; provided M the Debtors are permitted to sell, transfer, convey, assign or
otherwise dispose of any Prepetition Collateral in the ordinary course of business or as further
ordered by the Court. ln the event of any casualty, condemnation, or similar event with respect
to property that constitutes the Prepetition Collateral and/or Adequate Protection Collateral, the
Debtors are authorized and directed to pay to the Prepetition Agent one hundred percent (100%)
of the net amount of any insurance proceeds, condemnation awardJ or similar payment on the
first business day following receipt of payment by the Debtors.

19. Events of Default. Each of the following shall, unless waived in writing by the
Prepetition Agent, constitute an event of default (“Event of Default”) under this interim Order:

(a) any Debtor shall attempt to vacate or modify this Interim Order over the
objection of the Prepetition Agent;

(b) entry of any order reversing, amending, supplementing, Staying, vacating
or otherwise modifying this Interim Order without the prior written
consent of the Prepetition Agent;

(c) this interim Order or the Final Order ceases, for any reason (other than by
reason of the express written agreement by the Prepetition Agent), to be in
full force and effect, or any Debtor so asserts in writing, or the Adequate
Protection Liens or Adequate Protection Superpriority Claims created by
this Interim Order or Final Order cease to be enforceable and of the same
effect and priority purported to be created hereby or any Debtor so asserts
in writing;

(d) any Debtor shall institute any proceeding or investigation, or support same
by any other person, challenging the status and/or validity of the
Prepetition Obligations or Prepetition Liens;

(e) the Debtors’ failure to market and sell or otherwise dispose of its assets in
accordance with the terms, conditions, and deadlines of the Asset
Disposition Program as set forth herein;

(f`) the date an application is filed or supported by any Debtor seeking relief
from or modifying the automatic stay of section 362 of the Bankruptcy

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Code (i) to allow any creditor to execute upon or enforce a lien on or
security interest in any Collateral, or (ii) with respect to any lien of or the
granting of any lien on any Collateral to any state or local environmental
or regulatory agency or authority;

the amount of Debtors’ actual expenditures exceed the approved
expenditures (excluding only the amounts set forth in the Budget for
payment of the allowed fees and expenses of the Debtors’ noticing agent
and the fees and expenses payable and reimbursable to the Prepetition
Agent’s and Prepetition Lenders’ professional as provided herein), as set
forth in the Budget, on a cumulative basis for the current and all prior
months, by more than 15% (the “Permitted Variance”) provided, however,
that the Debtors’ payment of the fees and expenses of Case Professionals
(as hereinafter defined, but, for purposes of this section oniy, excluding
the Debtors’ noticing agent) in accordance with this Interim Order shall
not exceed the amounts set forth in the Budget for payment of Case
Professionals and shall not be subject to the Permitted Variance;

the Debtors file any (a) motion to use Cash Collateral on a non-consensual
basis,, (b) motion to sell any portion of the Debtors’ assets outside the
ordinary course of business without the prior written consent of the
Prepetition Agent, or (c) plan of reorganization or liquidation or disclosure
statement, or any amendment to such plan or disclosure statement, in each
case without the prior written consent of the Prepetition Agent;

the entry of an order, without the prior written consent of the Prepetition
Agent, (a) converting any of these Cases to a case under chapter 7 of the
Bankruptcy Code; (ii) dismissing any of these Cases; (iii) appointing a
trustee or examiner with expanded powers (powers beyond those set forth
in sections llOG(a)(fl) and (4)) in these Cases; or (iv) granting relief from
the automatic stay to any creditor (other than the Prepetition Lenders)
holding or asserting a lien or asserting a reclamation claim with respect to
any Adequate Protection Collateral;

any Debtor seeks to obtain credit or incur indebtedness that is (a) secured
by a security interest, mortgage or other lien on all or any portion of the
Prepetition Collateral and/or Adequate Protection Collateral which is
equal or senior to any security interest, mortgage or other lien of the
Prepetition AgentJ or (b) entitled to priority administrative status which is
equal or senior to that granted to the Prepetition Agent;

the use of any Cash Collateral for any purpose other than those set forth in
the Budget;

the Debtors’ failure to pay any amount due under this Interim Order as
provided herein; and

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(m) the Debtors’ failure to comply with any provision, term, covenant or
representation of this Interim Order.

20. Effect of Event of Default. Upon the occurrence of an Event of Default, the

 

Prepetition Agent may deliver written notice of the occurrence of such Event of Default to
counsel for the Debtors, counsel for any Statutory Committee, and the office of the U.S. Trustee.
Upon the expiration of three (3) business days’ following the Prepetition Agent’s delivery of
written notice of the occurrence of an Event of Default as provided in this Paragraph 20 (the
“Notice Period”), the Debtors shall immediately cease using Cash Collateral; provided, however,
that during the Notice Period the Debtors and any Statutory Comrnittee shall have the right to
seek an emergency hearing before the Court for the sole purpose of contesting whether an Event

of Default has occurred Upon the expiration of such three (3) business day period, unless

 

(a) the Court has determined that an Eyent of Default has not occurred, or (b) the Court

sets an expedited hearing for such determination within such period but the date of the

hearing is scheduled to occur after such period based on the Court’s docket, the automatic

 

stay shall be lifted Without further order of this Court to allow the Prepetition Agent and
Prepetition Lenders to exercise any and all remedies customary for secured lenders,

including set-off and foreclosgre, with respect to the Prepetition Collateral and Adequate

 

Protection Collateral, subiect to the Carve Out. During the pendency of any such Notice
Period, the Debtors shall not use Cash Collateral other than to pay those expenses set forth

in the Budget for sgch period that are essential to the operations of the Debtors’ business

 

during the Notice Period.
2l. Carve Out.
(a) Carve Out. For purposes of this Order, the “Carve Out” shall mean the
sum of (i) fees and expenses required to be paid to the Clerk of the Court and to the U.S. Trustee

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pursuant to 31 U.S.C. §3717 and 28 U.S.C. §1930, (ii) to the extent allowed by flnal, non-
appealable order of this Court, all unpaid fees and expenses incurred in accordance with the
Budget by persons or firms retained by the Debtors and any Statutory Committee (collectively,
the “Case Professionals”) at any time before the delivery of a Carve Out Trigger Notice (as
hereinafter defined), whether allowed by the Court prior to or after delivery of a Carve Out
Trigger Notice, and (iii) after the Terrnination Date and the Prepetition Agent has delivered
notice to the Debtors to the effect that the application of the Carve Out has occurred (a “w
Out Trigger Notice”), the payment of unpaid professional fees and disbursements, solely to the
extent allowed by final, non-appealable order of this Court, incurred by the Case Professionals in
an aggregate amount not to exceed $50,000 for the Debtors (together with the fees referenced in

(ii) above, the “Case Professional Carve Out”). The Carve Out amount shall be reduced dollar

 

for dollar by the amount of any retainer balance held by the Case Professionals No payment of
any Carve Out amount shall reduce any Prepetition Obligationsl

(b) No Direcr Obligation to Pay Case Proj%ssional Fees. The Prepetition
Agent and Prepetition Lenders shall not be responsible for the direct payment or reimbursement
of any fees or disbursements of any Case Professionals incurred in connection with the Cases or
any Successor Cases. Nothing in this Interim Order or otherwise shall be construed (i) to
obligate the Prepetition Agent or Prepetition Lenders, in any way to pay compensation to or to
reimburse expenses of any Case Professional, or to guarantee that the Debtors have sufficient
funds to pay such compensation or reimbursement, (ii) to increase the Carve Out, (iil) as consent
to the allowance of any professional fees or expenses, or (iv) to affect the right of the Prepetition

Agent to object to the allowance and payment of such fees and expenses

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22. Limitations on the Use of Cash Collateral and the Case Professionals Carve-Out.

 

No portion of the Cash Collateral or the Case Professionals Carve Out may be used to:

(a) litigate, object to, contest or challenge in any manner or raise any defenses
to the debt or collateral position of the Prepetition Agent and Prepetition Lenders under the
indebtedness Documents, whether by challenging the validity, extent, amount, perfection,
priority or enforceability of the Prepetition Obligations under the indebtedness Documents or the
validity, perfection or priority of any mortgage, security interest or lien with respect thereto,
whether granted prepetition or post-petition, or any other rights or interests or replacement liens
with respect thereto or any other rights or interests of the Prepetition Agent or Prepetition
Lenders, or by seeking to subordinate or recharacterize the Prepetition Obligations or to disallow
or avoid any claim, mortgage, security interest, lien, or replacement lien or by asserting any
claims or causes of action, including, without limitation, any actions under Chapter 5 of the
Bankruptcy Code, against the Prepetition Agent or Prepetition Lenders, or any of their respective
affiliates, attorneys, advisors, professionals, officers, directors, agents or employees; or

(b) initiate or prosecute any claims, causes of action, adversary proceedings or
other litigation which seeks any order, judgment, determination or similar relief with respect to
claims against the Prepetition Agent or Prepetition Lenders. In addition, neither the Carve Out
nor any Cash Collateral shall be used in connection with (i) preventing, hindering or delaying the
Prepetition Agent’s (A) enforcement of remedies under this Interim Order once a Termination
Date has occurred and is continuing, except to contest that a Termination Date has occurred or
(B) enforcement or realization on the Prepetition Collateral in accordance with the lndebtedness
Documents and Paragraph 20 of this Interim Order (which prohibitions shall not apply to any

opposition or challenge by the Debtors with respect to whether or not the Debtors are in default

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of any Adequate Protection Payments), (ii) selling or otherwise disposing of the Prepetition
Collateral and/or Adequate Protection Collateral outside of the ordinary course of business
without the prior written consent of the Prepetition Agent, (iii) using or seeking to rise any
insurance proceeds related to the Prepetition Collateral and/or Adequate Protection Collateral
without the prior written consent of the Prepetition Agent, or (iv) incurring indebtedness other
than as permitted in this interim Order.

Notwithstanding the foregoing, up to a maximum aggregate amount of $10,000 of Cash
Collateral and/or the Carve Out may be used to pay the allowed fees and expenses of a Statutory
Cornrnittee (if one is appointed) incurred in connection with investigating the validity,
enforceability, perfection or priority of the Prepetition Liens, subject to the Challenge Period (as
hereinafter defined).

23. M. Subject only to the Challenge Period (as hereinafter detined), §_h_§
Debtors hereby release, acquit, and forever discharge the Prepetition Agent, Prepetition
Lenders, and their affiliates and each of their respective predecessors, successors, assigns,
subsidiaries. managed accounts and funds, directors, officers, principals, partners,
members, managers, controlling persons. employees, representatives, agents, attorneys.
financial advisors, consultants and other professionals, in each case solely in their capacity
as sgch, (collectively. the “Released Parties”) from any and all claims, counterclaims,
demands, controversies, costs, contracts, debts, sums of money, accounts, reckonings.
bonds, bills, damages, obligations, liabilities, obiections, actions. and causes of action of any
nature. type or description, whether at law or equity, by common law or statute, in
contract, for., or otherwise, known or unknown, asserted or unasserted, or suspected or

unsuspected, other than claims arising from the gross negligence or willful misconduct of

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the Released Parties, that the Debtors ever had or now have against any of the Released
Parties that may have arisen at any time on or prior to the date of this Interim Order
(collectively, the “Released Claims”).

24. Reservation of Certain Third Party Rights and Bar of Challenges and Claims. The

 

Debtors’ Stipulations in Paragraph F(i) through F(vi) above and the releases provided for in
Paragraph 23 above shall be binding upon (a) the Debtors (but not the Debtors’ estates)
immediately upon entry of this Interim Order, and (b) all other parties in interest, including any
Statutory Comrnittee appointed in these Cases, unless: (i) a party in interest (including any
Statutory Committee appointed in these Cases) has commenced, as appropriate, a contested
matter or adversary proceeding (x) challenging the amount, validity, allowability, priority, or
secured status of the Prepetition Obligations, (y) challenging the validity, extent, priority or
perfection of the Prepetition Liens, or (z) otherwise asserting any claims or causes of action
against the Prepetition Agent and/or Prepetition Lenders on behalf of the Debtors’ estates (any of
the foregoing, a “Challenge”), within sixty (6()) days after the entry of this Interim Order (the
“Challenge Perio ”); and (ii) the Court rules in favor of the plaintiff in any such timely filed
adversary proceeding or contested matter and such ruling becomes a final, non-appealable order.
Upon the expiration of the Challenge Period, if no timely Challenge has been filed (or if any
such Challenge is timely filed but is overruled by the Court): (a) any and all such Challenges by
any party (including, without limitation, any Statutory Comrnittee, any chapter ll trustee, and/or
any examiner or other estate representative appointed in these Cases, and any chapter 7 trustee
and/or examiner or other estate representative appointed in any Successor Case), shall be deemed
to be forever waived, released and barred, (b) all of the Debtors’ Stipulations, waivers, releases,

affimiations and other stipulations as to the priority, extent, and validity as to the Prepetition

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Agent’s and Prepetition Lenders’ claims, liens, and interests shall be of full force and effect and
forever binding upon the Debtors, the Debtors’ bankruptcy estates and all creditors, interest
holders, and other parties in interest in these Cases and any Successor Cases, and (c) the claims
of the Prepetition Agent and Prepetition Lenders shall be deemed to be allowed secured claims
under section 506 of the Banl<ruptcy Code, not subject to counterclaim, setoff, subordination,
recharacterization, defense or avoidance, for all purposes in the Cases and any subsequent
Successor Case, including any chapter 7 case. To the extent that a Challenge is timely filed but
does not expressly challenge all of the Debtor’s Stipulations or releases, all of the unchallenged
Debtors’ Stlpulations and releases shall be of full force and effect and forever binding and
preclusive upon all creditors, interest holders, and other parties in interest, notwithstanding such
timely filed Challenge.

25. No Third Party Rights. Except as explicitly provided for herein, this Interim
Order does not create any rights for the benefit of any third party, creditor, equity holder or any
direct, indirect, or incidental beneficiary

26. Right to Credit Bid. In any sale or sale process approved by this Court which
includes the Prepetition Collateral or Adequate Protection Collateral (whether pursuant to
section 363 of the Bankl‘uptcy Code, a plan of reorganization or otherwise), the Prepetition
Agent shall have the right to credit bid, and the Debtors shall not object to the Prepetition
Agent’s right to credit bid; provided that, subject to the expiration of the Challenge Period, the
foregoing shall not preclude any other party in interest from objecting to the Prepetition Agent’s
right to credit bid.

27. Section 506§c) Claims. Upon entry of the Final Order, no costs or expenses of

administration which have been or may be incurred in the Cases, any Successor Cases, or any

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future proceeding that may result therefrom, including liquidation in bankruptcy or other
proceedings under the Bankiuptcy Code, at any time shall be charged against the Prepetition
Agent, the Prepetition Lenders, or any of their respective claims or the Prepetition Collateral
and/or Adequate Protection Collateral pursuant to sections l05 or 506(0) of the Bankruptcy
Code, or otherwise, without the prior written consent of the Prepetition Agent, and no such
consent shall be implied from any other action, inaction, or acquiescence by the Prepetition
Agent.

28. No Marshaling/Applications of Proceeds. The Debtors shall not seek to subject
the Prepetition Agent or the Prepetition Lenders to the equitable doctrine of “rnarshaling” or any
other similar doctrine with respect to any of the Prepetition Collateral and/or Adequate
Protection Collateral.

29. Section 552gb). Upon entry of the Final Order, the Prepetition Agent and the
Prepetition Lenders shall be entitled to all of the rights and benefits of section 552(b) of the
Banl<ruptcy Code, and the “equities of the case” exception under section 552(b) of the
Bankruptcy Code shall not apply to the Prepetition Agent or the Prepetition Lenders with respect
to proceeds, product, offspring or profits of any of the Prepetition Collateral.

30. Rights Preserved. Notwithstanding anything herein to the contrary, the entry of
this Interim Order is without prejudice to, and does not constitute a waiver of, expressly or
implieitly: (a) the Prepetition Agent’s and the Prepetition Lenders’ right to seek any other or
supplemental relief in respect of any Debtor, including the right to seek different or additional
adequate protection; (b) any of the rights of the Prepetition Agent and the Prepetition Lenders
under the Bankruptcy Code or under non-bankruptcy law, including, without limitation, the right

to (i) request modification of the automatic stay of section 362 of the Bankruptcy Code, (ii)

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request dismissal of any of the Cases or Successor Cases, conversion of any of the Cases to cases
under chapter 7, or appointment of a chapter ll trustee or examiner with expanded powers, or
(iii) propose, subject to the provisions of section ll2l of the Bankruptcy Code, a chapter ll plan
or plans; or (c) the rights of the Debtors to seek to continue using Cash Collateral without the
consent of the Prepetition Agent and the Prepetition Lenders, subject to all rights of the

Prepetition Agent and the Prepetition Lenders to contest the same.

 

3l. Section 507(b) Reservation. Nothing herein shall impair or modify the
application of section 507(b) of the Bankruptcy Code in the event that the adequate protection
provided to the Prepetition Agent and the Prepetition Lenders hereunder is insufficient to
compensate for any Diminution in Value of its interests in the Prepetition Collateral during the
Cases or any Successor Cases. Nothing contained herein shall be deemed a finding by the CourtJ
or an acknowledgment by the Prepetition Agent or the Prepetition Lenders, that the adequate
protection granted herein does in fact adequately protect the Prepetition Agent and the
Prepetition Lenders against any Diminution in Value of their interests in the Prepetition
Collateral (including Cash Collateral).

32. No Waiver by Failure to Seek Relief. The failure of the Prepetition Agent or the

 

Prepetition Lenders to seek relief or otherwise exercise rights and remedies under this interim
Order, the lndebtedness Documents, or applicable law, as the case may be, shall not constitute a
waiver of any of their rights hereunder, thereunder, or otherwise

33. Proofs of Claim. Notwithstanding anything to the contrary in any other order of
this Court, the Prepetition Agent and the Prepetition Lenders will not be required to file proofs of
claim in any of the Cases or Successor Cases, and the Debtors’ Stipulations in Paragraph F

herein shall be deemed to constitute a timely filed proof of claim. Any order entered by the

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Court in relation to the establishment of a bar date for any claim (including Without limitation
administrative claims) in any of the Cases or Successor Cases shall not apply to the Prepetition
Agent and the Prepetition Lenders with respect to the Prepetition Obligationsl

34. Good Faith. The Debtors, the Prepetition Agent, and the Prepetition Lenders have
acted in good faith in connection with this interim Order and their reliance on this interim Order
is in good faith.

35. Binding Effect of Interim Order. lmrnediately upon entry by this Court

 

(notwithstanding any applicable law or rule to the contrary), the terms and provisions of this
Interim Order shall become valid and binding upon and inure to the benefit of the Debtors, the
Prepetition Agent, the Prepetition Lenders, all other creditors of any of the Debtors, any
Statutory Comrnittee appointed in the Cases, and all other parties in interest and their respective
successors and assigns, including any trustee or other fiduciary hereafter appointed in any of the
Cases, any Successor Cases, or upon dismissal of any Case or Successor Case. Any payments to
be made by the Debtors under any order (including any “First Day” order) shall be subject to the
terms and conditions of this Interim Order.

36. No Modification of interim Order. The Debtors irrevocably waive any right to

 

seek any amendment, modification or extension of this interim Order without the prior written
consent of the Prepetition Agent, and no such consent shall be implied by any other action,
inaction or acquiescence of the Prepetition Agent. In the event any or all of the provisions of this
Interim Order are hereafter modified, amended or vacated by a subsequent order of this Court or
- any other court, such modification, amendment or vacatur shall not affect the validity, perfection,
priority, allowability, enforceability or non-avoidability of any advances, payments or use of

cash whether previously or hereunder, or lien, claim or priority authorized or created hereby.

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Any liens or claims granted to the Prepetition Agent and the Prepetition Lenders hereunder
arising prior to the effective date of any such modification, amendment or vacatur of this interim
Order shall be governed in all respects by the original provisions of this Interim Order, including
entitlement to all rights, remedies, privileges and benefits granted herein.

37. Suivival. The provisions of this Interim Order and any actions taken pursuant
hereto shall survive entry of any order which may be entered: (a) confirming any other plan of
reorganization in any of the Cases; (b) converting any of the Cases to a case under chapter 7 of
the Bankruptcy Code; (c) dismissing any of the Cases or any Successor Cases; or (d) pursuant to
which this Court abstains from hearing any of the Cases or Successor Cases. The terms and
provisions of this Interim Order, including the claims, liens, security interests and other
protections granted to the Prepetition Agent and Prepetition Lenders pursuant to this Interim
Order, notwithstanding the entry of any such order, shall continue in the Cases, in any Successor
Cases, or following dismissal of the Cases or any Successor Cases, and shall maintain their
priority as provided by this Interim Order until all Prepetition Obligations have been indefeasibly
paid in full in cash, notwithstanding the expiration of the interim Period or any earlier
termination of the Debtors’ authorization to use Cash Collateral.

38. Final Hearing. The Final liearing to consider entry of the Final Order is
scheduled for 1 |, 2018 at M:UO w.m. (Central Time) before the Honorable Tony
M. Davis, United States Bankruptcy ludge, Courtroom #_ at the United States Bankruptcy Court
for the Western District of Texas, Division,

, Texas . On or before August __, 2018, the

 

Debtors shall serve, by United States mail, first~class postage prepaid, notice of the entry of this

Interim Order and of the Final Hearing (the “Final Hearing Notice”), together with a copy of this

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Interim Order, on the parties having been given notice of the interim Hearing, and to any other
party that has filed a request for notices with this Court and to any Statutory Committee if the
same has been appointed, or counsel to any Statutory CornmitteeJ if the same shall have been
appointed The Final Hearing Notice shall state that any party in interest objecting to the relief
requested in the l\/lotion on a final basis shall file written objections with the Clerk of the Court
no later than on , 2018 at 4:00 p.m. (Central Time), which objections shall be
served so as to be received on or before such date by: (a) Dykema Cox Smith, 112 E. Pecan
Street, Suite 1800, San Antonio, Texas 78205, Attention Deborah D. Williamson, Esq. and
Patrick L. l-luffstickler, Esq., attorneys for the Debtors; (b) Haynes and Boone, LLP, 1221
McKinney Street, Suite 2100, I-Iouston, Texas 77010, Attention: Charles A Beckham, Jr., Esq.
and Haynes and Boone, LLP, 2323 Victory Avenue, Suite 700, Dallas, Texas 752l9, Attention:
Matthew T. Ferris, Esq., attorneys for the Prepetition Agent, and (c) the Office of the U.S.
Trustee, 6l5 E. Houston Street, Suite 533, San Antonio, Texas 78205, Attention: lim Rose, Esq.
39. Limitation of Liability. ln permitting the use of Cash Collateral or in exercising
any rights or remedies as and when permitted pursuant to this Interim Order, the Prepetition
Agent and the Prepetition Lenders shall not be deemed to be in control of the operations of any
of the Debtors or to be acting as a “responsible person” or “owner or operator” with respect to
the operation or management of any of the Debtors (as such terms, or any similar terms, are used
in the United States Comprehensive Environrnental Response, Compensation and Liability Act,
29 U.S.C. §§ 960l _et se_q. as amended, or any similar federal or state statute). Furthermore,
nothing in this interim Order shall in any way be construed or interpreted to impose or allow the
imposition upon the Prepetition Agent or the Prepetition Lenders any liability for any claims

arising from the prepetition or postpetition activities of any of the Debtors and their affiliates (as

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defined in section 101(2) of the Bankruptcy Code).
40. Effect of this Interim Order. This Interim Order shall take effect and be

enforceable nunc pro tunc to the Petition Date immediately upon entry thereof.

 

41. Retention of lurisdiction. The Court has and will retain jurisdiction to enforce

this interim Order according to its terms.

### ENDOFORDER ###

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Exhibit “A”

 

 

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